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lN THE UNITED sTATES I)lSTRlCT CoURT FoR THE`. .? j .3 f"jr §§ P;-§
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r.,)

Case No.: i;`-,s: \Lp.(j v-g.q |-T. gg)`_rtr;l.\~/l

LYNN CRANOR, CoMPLAINT FoR vtoLATIoNS oF=
plaimm-_ 1. NEGL|GENT vloLATloNs oF
'rHi; 'I'ELEPHONE CoNSuMER
V_ PRoTECTloN ACT [4? u.S.C. §22?
sT Si=:o.]

I\J

CREDIT 0le BANK. N.A.. A nusiness W'LLFUL VIOLATIONS OF THE

Entity of`Unkno\vn form doing business in TELEPHONE CONSUMER _
F|orida, and Does l through 20. inclusive. PROTECTION ACT l‘l? U‘S'C‘ §22?

ET sEQ.]

Dcrcndam' 3. Tl-IE FLoRlDA CoNSUMER
CoLI.,I;CTloN PRACTICES ACT
[FLA. s'rAT. § 559 I~;'r SEQ.]

.IURY TRIAL I)EMANDED

 

 

P|ainlii`l`LYNN CRANOR (“Plaintil`l"} alleges the following upon information and belief

based upon personal knowledge:
lNTRODUCT|()N

|. 'I`his ease arises from the illegal actions ol` CREDI'I` ONE BANK, N.A.
("‘Dei`endant" or "CRED]'I` ON[F.") in negligently knowingly andfor willfully contacting Plaintiff
on P|aintil`f"s cellular telephone in violation ol` the 'l`elephone Consumer Proteolion Aet, 47 U.S.C'.
§ 227 er .\'eq. ("TCPA"). thereby invading l’laintil`l`s privaey. and in violation oi` the Florida
Consumer C`ollcelion Praetiees Ael. l"l,A. S`l`/\'l` § 55901.5’:3{[.

l’ARTIES
2. I’|ainlil`l`. lJYNN CRANOR ("[’lainlil`l"). is a natural person residing in the State ol`

l~`lorida. and is a "person" as defined l'-}-' 47 U.S.(.'. § 153 (39).

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3. Plaintif`f` is informed and believes, and thereon alleges, that CREDIT ONE BANK,
N.A. is. and at all times mentioned herein was, a National Association whose primary corporate
address is 585 Pilot road, Las Vegas. NV 891 l9..

4. Dei`endant CREDIT ONE BANK, N.A. ("CREDIT ONE" or “Defendant”) is. and
at all times mentioned herein, conducted business in the State of Florida. and within thisjudicial
district. '

5. CRED|T ONE regularly does business in the State of` F|orida by issuing lines of
credit to individuals, including F|orida residents and regularly contacting residents therein in
attempt to collect upon the lines of credit.

6. Plaintif`f is informed and believes and upon such information and belief alleges
Defendant is also a national debt collection company that continuously and systematically engages
in its business of` collecting debts from within the State of F|orida and the United States.

7. 'l`he true names and capacities ot`Dei`endants named herein as DOES l through 20
are unknown to Plaintiti`, who therefore sues these Dei`endants by such fictitious names. Plaintifi`
will amend the Complaint to show the true names and capacities of such DOES when they have
been ascertained Upon information and belief. Plaintiff` alleges that each of DOES l through 20
was responsible in some manner for the occurrences acts, and transactions herein alleged, and that
Plaintif`i`s damages and violations of Plaintift`s rights were proximately caused by such
Defendants.

8. Upon information and beliei`, Plaintii`t` alleges that at all times mentioned
Defendants were the agents. servants. representatives, partners and/or employees of co-
Defendants. and, by engaging in the actions mentioned below, were, unless otherwise alleged.
acting within the course and scope of their authority as such agent. servant, representative partner,
and/or employee, with the permission and consent of co~Det`endants.

9. Any allegations about acts of any corporate or other business Defendants means

that the corporation or other business did the alleged acts through its officers, directors, employees,

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agents, and/or representatives while they were acting within the actual or ostensible scope of their
authority.
JURISDICTION AND VENUE

|0. This action arises out of Defendant’s repeated violations of the Telephone
Consumer Protection Act, 47 U.S.C. § 227, e_t §§ (“TCPA"). Pursuant to 28 U.S.C. § l33l, this
Court has federal question jurisdiction over this matter as it arises under the 'l`elephone Consumer
Protectiort Act (“TCPA"), 47 U.S.C. § 227.

| l. Pursuant to 28 U.S.C. § l39l(b), venue is proper because a substantial part of the
events giving rise to this claim occurred in thisjudicial district.

DEMAND FOR JURY TRIAL

12. Plaintiff is entitled to and hereby respectfully demands a trial byjury on all issues
so triable. US Consl. amend. 7. Fed.R.Civ.P. 38.

DEFENDANT CREDIT ONE’S BUSINESS

l3. CREDlT ONE`s primary business is extension ol`credit to distressed consumers
and the collection of past due debts.

l4. ln connection with CREDIT ONE`s business. Del`endant places telephone calls
using a "predictive dialer" and/or an artificial or prerecorded voice.

l$. “[A] predictive dialer is equipment that dia|s numbers and, when certain computer
software is attached. also assists telemarketers in predicting when a sales agent will be available
to take cal|s. The hardware. when paired with certain software has the capacity to store or produce
numbers and dial those numbers at random. in sequential ordcr, or from a database of numbers.”
In the Maller ofRuIe.r and Regulations lmplememing the 'I'elephr)ne Consumer Protection Act of
1 991, Declaratory Ruling and Order. adopted Junc l8, 20 l 5, p. l3. 1[ |3; ln the Matler of Rules &
Regu/ulions I)))plememing the Telep}u)ne Consumer ProlectionAcl afl 991 , |8 F.C.C. Rcd. l40|4,
l409l-4093 (2003); see also ln the Maller r)_/`Rules & Regulalions Im;)lememing the Telephone
Consumer Prr)leclion Act of 1 991. 23 F.C.C. Rcd. 559. 562-63 (2008).

FACTUAL ALLEGATIONS

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l6. Beginning in and around September l6, 2015, Defendant contacted Plaintiff on her
cellular telephone in an attempt to collect an alleged outstanding debt.

l7. Defendant called or attempted to call Plaintiff from the telephone numbers (754)
260-6524, (33|) 229-5197, (2|2) 453-4445, (469) 904-7308, (408) 444-2421, (7l9) 696-6175,
(732) 867-2870. (866) 473-0948, (973) 796-2481. (470) 225-2557, (404)239-28| l, (678) 528-
2855, and (580) 559-8968 which appeared on Plaintiff‘s cellular phone.

18. Plaintiff was the subscriber to the Cel|ular telephone number Defendant called at
the time of each call (“Plaintill`s Number").

19. On September 16. 20|5, at approximately 8:43 a.m. P|aintift`s Number received a
call from (702) 932-3860 that called four more consecutive times on the same date. Plaintiff had
not provided express consent to Defendant to call Plaintifi’s Number. Approximate|y over the next
two weeks, Defendant called Plaintiff`s Number at least sixty-two (62) more times.

20. At no time after Defendant began calling Plaintiff`s Number has Plaintiff provided
express consent to Defendant to call Plaintiff`s Number.

2 l. Plaintift‘s Number is assigned to a telephone service for which Plaintiff is charged
for the cal|.

22. As of the date on which this complaint is being tiled. Defendant placed at least
sixty-seven (67) telephone calls over a span of approximately two weeks to P|aintifi`s Number
using a predictive dia|cr and/or an artificial or prerecorded voice.

MLLEM

23. ln 199 l , the Telephone Consumer Protection Act ('I`CPA), 47 U.S.C.A. § 227. was
enacted by Congress in response to voluminous consumer complaints about abuses of telephone
technology. The purpose and history of the TCPA indicate that Congress was trying to prohibit the
use of Automatic Telephone Dialing Systems (ATDSs) to communicate by telephone in a manner
that would be an invasion of privacy. Thus, the Act is aimed at “protect[ing] the privacy interests
of residential telephone subscribers by placing restrictions on unsolicited, automated telephone

calls to the home and to facilitate interstate commerce by restricting certain uses of facsimile

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machines and automatic dialcrs.” S. Rep. No. 102-178, at l (199 l ), reprinted in 1991 U.S.C.C.A.N.
l968 [quoted in Sat!erjield v. Simon & Schus!er, lnc., 569 F.3d 946, 954 (9th Cir. 2009)].

24. The TCPA provided that it is unlawful for any person within the United States to
(l) make any call using any automatic telephone dialing system (“A'I`DS") or an artificial or
prerecorded voice (2) without the prior express consent of the called party. Section 227 of the act
defined ATDS as “equipment which has the capacity (A) to store or produce telephone numbers
to be called, using a random or sequential number generator, and (B) to dial such numbers”

25. Over the years, the telemarketing industry underwent significant changes in
technology and methods to invade consumer privacy through automated solicitation and debt
collection. By 2003, in response to the increasing consumer complaints and the Federal
Communications Commission (‘*FCC”) revised the TCPA and adopted new rules for consumers
to combat increasingly sophisticated and increasing number of automated calls to consumers
Some of the adoptions in the 2003 order included a do not call list and FCC clarification as to what
constitutes an ATDS. Among several other clarifications. the FCC ordered that predictive dia|ersl
have the capacity to store or produce telephone numbers, and are therefore an ATDS under Section
277. This interpretation of the ATDS has been routinely accepted by courts of law throughout the
country.

26. On June 18, 2015, the FCC made another declaratory ruling further reinforcing that
an autodialer is any technology with the capacity, whether present or future, to dial random or
sequential numbers. This definition ensures that robo-callers cannot skirt consumer consent
requirements through changes in calling technology design or by calling from a list of numbers.
FCC June 18, 20|5 Declaratory Rulings Press Release. The FCC also made clear that a called

party may revoke consent to be called at any time and through any reasonable means.

27. Senator Fritz Hollings. the original sponsor ofthe TCPA. stated:

 

' A predictive dialer is equipment that dials numbers and, when certain computer software is
attached, also assists telemarketers in predicting when a sales agent will be available to take
calls.

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Computerized calls are the scourge of modern civilization. They wake
us up in the moming: they interrupt our dinner at night; they force the
sick and elderly out of bed: they hound us until we want to rip the
telephone right out of the wall.

137 Cong. Rec. 30,821 (1991).

28. The TCPA defines an automatic telephone dialing system (“ATDS”) as
“equipment which has the capacity...(A) to store or produce telephone numbers to be called,
using a random or sequential number generator; and (B) to dial such numbers." 47 U.S.C. §
227(a)(|).

29. A predictive dialer is an ATDS within the meaning ofthe TCPA. In the Matter of
Rule.s' and Regulalions Implemenling the Telephone Consumer Prolec!ion Act of 1991,
Declaratory Ruling and Order, adopted June |8, 2015. p. l3. 11 13; ln the Matter of Rules &
Regularions lmplememing the Telephone Consumer I’rolcc!ion Act of 1991 , 18 F.C.C. Rcd.
14014, l409l-4093 (2003): see also ln the Matter of Rules & Regulations Implementing the
Telephone Consumer Protection Act of l99l. 23 F.C.C. Rcd. 559. 562-63 (2008).

30. The 'I`CPA provides, in part:

(b) RESTRlCT|ONS ON THE USE OF AUTOMATED TELEPHONE EQU|PMENT._

l) PROl~llBlT|ONS._lt shall be unlawful for any person within the United States,
or any person outside the United States if the recipient is within the United States-

(A) to make any call (other than a call made for emergency purposes or made
with the prior express consent of`thc called party) using any automatic
telephone dialing system or an artificial or prerecorded voice-

***

(iii) to any telephone number assigned to a paging service, cellular
telephone service, specialized mobile radio service, or other radio
common carrier service. or any service for which the called party is
charged for the call...

(D) to use an automatic telephone dialing system in such a way that two or
more telephone lines of a multi-line business are engaged simultaneously.

47 U.S.C. §§ 227(b)(l)(A)(iii) and 227(b)(l)(D)

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3 |. The term “called party.” as used in Section 227(b)( l )(A) of the TCPA. refers to the
person or entity subscribing to the called number at the time the telephone call is made. In the
Matter of Rules and Regulalions lmplel))eming the Telephone Consumer Proleclion Act of 1991 .
Declaratory Ruling and Order, adopted .lune 18. 20|5. pp 40-41. I 73.

32. A caller that places calls to a reassigned telephone number without the express
consent of the called party is deemed to have “constructive knowledge" of the reassignment after
one phone call has been placed to that reassigned number. ln the Matter of Rules and Regularions
implementing the Telephone Consumer I’roleclio)) Act of l99l. Declaratory Ruling and Order.
adopted June 18, 2015, p. 40. 11 72.

33. Plaintif`f' was the “called party" in each telephone call Defendant made to Plaintiff’s
Number.

34. The least sophisticated debtor in Plaintist position wouldjustifiably be misled into
believing that because they are receiving phone calls from a debt collector, they must owe the debt.
This is the precise type of deceptive conduct Congress intended to protect consumers against when
it enacted the FCCPA.

FIRST CAUSE OF ACTION
Negligent Violations of the Telephone Consumer Protection Act
47 U.S.C. § 227 et seq.

35. Plaintifi` incorporates by reference all of the preceding paragraphs of this
complaint as though fully set forth above.

36. Defendant CREDlT ONE negligently violated 47 U.S.C. § 227(b)(l)(A) on
multiple and separate occasions by using an ATDS and/or an artificial or prerecorded voice to
call Plaintit’f at a telephone number assigned to a service for which Plaintiff is charged for the
call without Defendant’s prior express consent.

37. As a result of Defendant`s negligent violations of 4 7 U.S.C. § 227 el seq.. Plaintiff`
is entitled an award of$500.00 in statutory damages. for each and every violation, pursuant to 47

U.S.C. § 227(b)(3)(B).

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SECOND CAUSE OF ACTION
Knowing and/or Willt`ul Violations of the Telephone Consumer Protection Act
47 U.S.C. § 227 et seq.
38. Plaintiff incorporates by reference all of the preceding paragraphs of this complaint
as though fully set forth above.

39. The TCPA provides, in part:
If the court finds that the defendant willfully or knowingly violated this subsection
or the regulations prescribed under this subsection, the court may, in its discretion,
increase the amount of the award to an amount equal to not more than 3 times the
amount available under subparagraph (B) of this paragraph.

47 U.S.C. § 227(b)(3).

40. The Communications Act of 1943, of which the TCPA is a part, defines “wi|lfu|”
as “the conscious or deliberate commission or omission of such act. irrespective of any intent to
violate any provision[], rule or regulation....” 47 U.S.C. § 312(f).

41. ln order to establish a “wil|ful” or “knowing" violation of the TCPA, a plaintiff
need not demonstrate that the defendant intended to violate the statute, or that it knew or should
have known it was violating the statute. See Roylance v. ALG Real Esl. Servs., Inc. 2015 U.S. Dist.
LEXIS 44930, *31 (N.D. Cal. Mar. 16, 2015); Bridgeview Heal!h Care Ctr. Ltd. v. Asset Mgml.
Solu!ions, Inc., 2011 U.S. Dist. LEXIS 50046, *18-20 (N.D. Ga. 2011).Clark, 2013 U.S. Dist.
LEXIS 37310, *21-22 (N.D. lll. Mar. 19, 2013); Sleward v. Regent Asset Mgml. Solutions, Im:.,
2011 U.S. Dist. LEXIS 50046, *18-20 (N.D. Ga. 2011).

42. lnstead, a plaintiff need only show that the defendant engaged in a “voluntary act”
that violated the TCPA, See Bridgeview, 2013 U.S. Dist. LEXlS, at l“2|-22; see also Roylance,
2015 U.S. Dist. LEXIS, at *3| (intentiona|ly making phone calls that violated TCPA, without
intent to violate the statute, was sufiicient to warrant treble damages).

43. Defendant CREDIT ONE voluntarily placed telephone calls to Plaintifi"s Number
using an ATDS and/or an artificial or prerecorded voice.

44. The foregoing acts and omissions of Defendant constitute numerous and multiple

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knowing and/or willful violations of the TCPA, including but not limited to each and every one of
the above cited provisions of 47 U.S.C. § 227 el seq.

45. As a result of Defendant’s knowing and/or willing violations of 4 7 U.S.C. § 227 et
seq.. Plaintifi` is entitled an award of $1,500.00 in statutory damages. for each and every violation.
pursuant to 4 7 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)((').

46. Plaintiff is also entitled to and seeks injunctive relief prohibiting such conduct in
the future.

THIRD CAUSE OF ACTION
Violation of the F|orida Consumer Collection Practices Act
FLA. STAT. § 559 et seq.

47. Plaintiff incorporates herein by reference all of the preceding paragraphs of this
complaint as though fully set forth above.

48. Defendants’ foregoing acts against Plaintiff` constitutes violations of the F|orida
Consumer Collections Practices (FCCPA) Act FLA. STAT. § 559 et seq.

49. These violations of the F|orida Consumer Collections Practices Act were willful as
set for the above.

50. ln determining the Defendants’ liability for any additional statutory damages, the
court shall consider the nature of the Defendants’ noncompliance with Section 559.72, the
frequency and persistence of the noncompliance and the extent to which the noncompliance was
intentional.

51. The FCCPA prohibits willful communication with the debtor or any member of her
or his family with such frequency as can reasonably be expected to harass the debtor or her or his
fami|y, or willfully engage in other conduct which can reasonably be expected to abuse or harass
the debtor or any member of her or his family. See Fla. Stat. §559. 72(7).

52. Defendants repeatedly and/or continuously called Plaintiff's cellular phone at least
sixty-seven times (67) over a period of approximately two weeks. The sheer number of calls

evidences the knowing and willful nature of`Defendants’ actions. Defendants have employed a

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practice of utilizing automatic dialers for calling debtors, despite the statutory prohibition and
plethora of case law and legislative history opposing this practice.

53. As a result of Defendants’ violations of Fla. Stat. § 559.72 Plaintif`f is entitled to
actual damages and for additional statutory damages in the amount up to $1000.00 together with
court costs and reasonable attorney’s fees incurred by the Plaintiff.

PRAYER FOR RELIEF

WHEREFORE, PLAINTIFF prays forjudgment as follows:

a. An order enjoining Defendant from placing further telephone calls to
Plaintiff’s Number pursuant to 47 U.S.C. § 227(b)(3).

b. Judgment against Defendant for statutory damages pursuant to 47
U.S.C. § 227(b)(3) for each and every call Defendant made in
violation of the TCPA,

c. Judgment against Defendants for statutory damages of $ 1 ,000

pursuant to FLA. STAT. § 559.77(2).

d. An award of reasonable attomey's fees and costs.
e. For such other legal and/or equitable relief as the Court deems
appropriate

Dated this 9th day of February, 2016.

Respectfu||y submitted,

 

J & M Advocacy Group, LLC J & M Advocacy Group, LLC
Attorneys for Plaintif Attorneysfor Plaimijj”
Presidential Circle, Ste. #435 So. Presidential Circle, Ste. #435 So.
4000 Hollywood Blvd. 4000 Hollywood Blvd.
Hollywood, FL 33021 Hollywood, FL 33021
Telephone: (954) 962-l 166 Telephone: (954) 962-l 166
Facsimile: (954) 962-1779 Facsimile: (954) 962-1779

By: s/ Mark D. Cohen By: /s/ Jessica Kerr

MARK D. COHEN, ESQ. JESSICA L. KERR, ESQ.

Fla. Bar No. 347345 Fla. Bar No. 92810

